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: NORTHERN TD} ISTRICT OF TEXAS

FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS MAR 2 8 2016

 

 

 

 

 

 

 

FORT WORTH DIVISION
. CLERK, U.S. BiSTRICT COURT
UNITED STATES OF AMERICA By sa
v. No. 4:16-MJ-170
CHARLES BEN BOUNDS
a/k/a “Pretty Boy” (01) %
MICHAEL LOUIS DEBUSK Py
a/k/a “Mad Dog” (02) gy S
WILLIAM DON LEVERETT Yes &
a/k/a “Big Will” (03) By Ve
LAUREN WHITNEY MOORE Y. %
a/k/a “Pistols” (04) &,
RICHARD LEE PINTO "Sy
a/k/a “Dirty Red” (05) oO
ALISHA ANN PRIEST (06) y
CRIMINAL COMPLAINT

 

Conspiracy to Possess with Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 846)

Beginning in or before January 2015, and continuing until on or about April 1,
2016, in the Fort Worth Division of the Northern District of Texas, and elsewhere,
defendants Charles Ben BOUNDS, also known as Pretty Boy, Michael Louis
DEBUSK, also known as Mad Dog, William Don LEVERETT, also known as Big
Will, Lauren Whitney MOORE, also known as Pistols, Richard Lee PINTO, also
known as Dirty Red, and Alisha Ann PRIEST, along with others known and unknown,
did knowingly and intentionally combine, conspire, confederate, and agree to engage in
conduct in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), namely to possess with
intent to distribute 50 grams or more of a mixture and substance containing a detectable
amount of Methamphetamine, a Schedule II controlled substance.

In violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(B)).

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I, the undersigned Complainant, being duly sworn, state the following is true and

correct to the best of my knowledge and belief:
I. INTRODUCTION
1, I have been a Special Agent of the DEA for approximately 17 years. I received
basic investigative instruction at the DEA Academy located in Quantico, Virginia, and
additional continuing instruction regarding investigative techniques. I am currently
assigned to the Fort Worth Resident Office (FWRO) of the DEA, Dallas Field Division,
working with Investigators and Officers from the Fort Worth Police Department.
2. I have participated as a law enforcement officer in several investigations of
unlawful narcotics distribution and have conducted wiretap investigations, physical and
electronic surveillances, undercover transactions, the execution of search and arrest
warrants, debriefings of informants, and review of taped conversations and drug records.
Through my training, education and experience, I have become familiar with the manner
in which illegal drugs are transported, stored and distributed, and the methods of
payments for such drugs. I am also familiar with some of the methods by which
narcotics traffickers communicate and code words commonly used by narcotics
traffickers.

I. SUMMARY OF PROBABLE CAUSE THAT A VIOLATION OF 21 U.S.C. §
846 HAS OCCURRED

3. As part of the conspiracy, not every person named or identified in the conspiracy
knew every other person identified as being in the conspiracy. It was their joining

together for the common purpose of possessing and distributing methamphetamine,

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the nature of the scheme to possess and distribute methamphetamine, and the overlapping
among its members in possessing and distributing methamphetamine that established
their membership in this particular conspiracy. And not every member of the conspiracy
knew the details of each aspect of the conspiracy. Nevertheless, each member of the
conspiracy knew or was aware of the conspiracy’s general purpose and scope, which was
to possess and distribute methamphetamine in the Northern District of Texas and
elsewhere between and among the named conspirators and others not named.

4, As part of the conspiracy, its members had a fluid hierarchy that evolved over
time. For example, as some members were arrested or otherwise temporarily
unavailable, other members took over the receipt and delivery of methamphetamine.

5. Since approximately 2014, the government has been investigating allegations that
Charles Ben BOUNDS, also known as Pretty Boy, Michael Louis DEBUSK, also
known as Mad Dog, William Don LEVERETT, also known as Big Will, Lauren
Whitney MOORE, also known as Pistols, Richard Lee PINTO, also known as Dirty
Red, and Alisha Ann PRIEST, along with Laci Whisenant, Matthew Rutledge, Chris
Nicholson, Shanda Hawkins, Gavin Seguin, and Tiffany Bradberry, not named as
defendants herein, and others not named have conspired together to possess
methamphetamine with the intent to distribute it in the Northern District of Texas and

elsewhere.

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6. As part of the conspiracy, Charles Ben BOUNDS, also known as Pretty Boy,
Michael Louis DEBUSK, also known as Mad Dog, William Don LEVERETT, also
known as Big Will, Lauren Whitney MOORE, also known as Pistols, Richard Lee
PINTO, also known as Dirty Red, and Alisha Ann PRIEST, agreed to possess
methamphetamine with the intent to distribute it, and knowingly and willfully
participated in that agreement.

7. As part of the conspiracy, the common purpose between and among Charles Ben
BOUNDS, also known as Pretty Boy, Michael Louis DEBUSK, also known as Mad
Dog, William Don LEVERETT, also known as Big Will, Lauren Whitney MOORE,
also known as Pistols, Richard Lee PINTO, also known as Dirty Red, and Alisha Ann
PRIEST, along with others was to possess and distribute methamphetamine in the
Northern District of Texas and elsewhere.

8. As part of the conspiracy, in general, Laci Whisenant, Alisha Feeney, Gavin
Seguin, Christina Pugh, Tiffany Bradberry, and others distributed or brokered
methamphetamine transactions between and amongst Charles Ben BOUNDS, also
known as Pretty Boy, Michael Louis DEBUSK, also known as Mad Dog, William Don
LEVERETT, also known as Big Will, Lauren Whitney MOORE, also known as
Pistols, Richard Lee PINTO, also known as Dirty Red, and Alisha Ann PRIEST, and

others.

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9. As part of the conspiracy, its members routinely received and delivered ounce and

multi-ounce quantities of methamphetamine that they then distributed to others in the

Northern District of Texas and elsewhere.

10. _ As part of the conspiracy, some of the money derived from the sale and

distribution of methamphetamine would be used to purchase additional quantities of

methamphetamine.

I. FACTS ESTABLISHING PROBABLE CAUSE THAT A VIOLATION OF 21
U.S.C. § 846 HAS OCCURRED

11. Below is a chronology of some relevant events:

a.

On April 29, 2015, Officers from the Fort Worth Police Department
arrested Laci Whisenant in possession of approximately 392 grams of
methamphetamine.

On June 15, 2015, Agents/Officers from the Drug Enforcement
Administration arrested Christina Pugh on an outstanding Federal Arrest
Warrant.

On June 15, 2015, Agents/Officers from the Drug Enforcement
Administration and the United States Marshal’s Service arrested Tiffany
Bradberry on an outstanding federal arrest warrant.

On June 16, 2015, Agents/Officers from the Drug Enforcement
Administration and Homeland Security arrested Alisha Feeney on an
outstanding federal arrest warrant.

On July 16, 2015, Officers from the White Settlement Police Department
arrested Richard Lee PINTO in possession of approximately 110 gross
grams of methamphetamine and a .22 caliber rifle.

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12. Co-conspirator Alisha Feeney identified Charles Ben BOUNDS as a
methamphetamine distributor whom she (Feeney) had on approximately one (1) occasion
purchased two (2) ounces of methamphetamine from and on three (3) additional
occasions purchased one (1) ounce of methamphetamine from. Feeney also said that on
approximately three (3) occasions she (Feeney) supplied BOUNDS with one (1) ounce
quantities of methamphetamine. Co-conspirator Laci Whisenant confirmed that
BOUNDS was involved in distributing methamphetamine. Specifically, Whisenant said
that on approximately three (3) occasions she (Whisenant) had delivered eight (8) ounces
of methamphetamine to BOUNDS, on approximately five occasions she (Whisenant) had
delivered four (4) ounces of methamphetamine to BOUNDS, and on approximately three
occasions she (Whisenant) had delivered two (2) ounces of methamphetamine to
BOUNDS.

13. Co-conspirator Laci Whisenant also identified Michael Louis DEBUSK as a
methamphetamine distributor whom she (Whisenant) had on one occasion delivered one
(1) ounce of methamphetamine to. Whisenant also said that on one (1) occasion in 2015
DEBUSK robbed her of approximately six (6) to eight (8) ounces of methamphetamine
and approximately $2000.00 in cash. Co-conspirator Tiffany Bradberry confirmed that
DEBUSK was involved in distributing methamphetamine. Specifically, Bradberry stated
that she (Bradberry) had observed DEBUSK in possession of two (2) to four (4) ounces

of methamphetamine on at least ten (10) occasions between April and May 2012.

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Bradberry also said that during this same timeframe she (Bradberry) had witnessed
DEBUSK in possession of a handgun.

14. | Co-conspirator Laci Whisenant identified William Don LEVERETT as a
methamphetamine distributor whom she (Whisenant) had on one (1) occasion seen in
possession of approximately one-half (1/2) kilogram of methamphetamine at
LEVERETT’s residence. Co-conspirator Gavin Seguin confirmed that LEVERETT
was involved in distributing methamphetamine. Specifically, Seguin identified
LEVERETT as a methamphetamine customer of his and Shanda Hawkins to whom they
had distributed one (1) ounce of methamphetamine on fifteen (15) occasions. Seguin also
said that on approximately eight (8) additional occasions he (Seguin) and Hawkins
supplied one (1) ounce quantities of methamphetamine to a “middle-man” who ultimately
delivered the methamphetamine to LEVERETT.

15. | Co-conspirator Alisha Feeney identified Lauren Whitney MOORE as a
methamphetamine distributor whom she (Feeney) had observed in possession of
approximately four (4) ounce quantities of methamphetamine in approximately 2011. A
cooperating source (hereinafter CS), confirmed that MOORE was involved in
distributing methamphetamine. Specifically, the CS said that he/she had observed
MOORE in possession of two (2) ounce quantities of methamphetamine on at least thirty
(30) occasions and that the methamphetamine had been supplied to MOORE by Rachel

Adams.

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16. | Co-conspirator Alisha Feeney also identified Richard Lee PINTO as a
methamphetamine distributor whom she (Feeney) had on at least two (2) occasions
observed Lacy Whisenant and PINTO deliver unknown amounts of methamphetamine to
Brian Matthew Brown. A cooperating source (hereinafter CS), confirmed that PINTO
was involved in distributing methamphetamine. Specifically, the CS said that PINTO
acted as a body guard for Whisenant, often carrying a pistol, and also sold
methamphetamine for Whisenant. The CS said that on one (1) occasion PINTO supplied
the CS one (1) ounce of methamphetamine and that during another encounter with
PINTO the CS was at PINTO’s hotel room and the CS purchased an “8 ball” (3.5
grams) of methamphetamine from PINTO.

17. Co-conspirator Laci Whisenant identified Alisha Ann PRIEST as a
methamphetamine distributor whom she (Whisenant) had on approximately three (3)
occasions delivered eight (8) ounce quantities of methamphetamine to, on two (2)
occasions she (Whisenant) delivered six (6) ounce quantities of methamphetamine to, and
on five (5) occasions she (Whisenant) delivered four (4) ounce quantities of
methamphetamine to. Additionally, Whisenant said that on two (2) occasions she
temporarily left half (4) kilogram quantities of methamphetamine with PRIEST. Co-
conspirator Alisha Feeney confirmed that PRIEST was involved in distributing
methamphetamine. Specifically, Feeney said that on one (1) occasion in approximately

2013 she (Feeney) purchased four (4) ounce quantities of methamphetamine from

PRIEST.

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18. Based on the foregoing, the Complainant believes that probable cause exists that
Charles Ben BOUNDS, also known as Pretty Boy, Michael Louis DEBUSK, also
known as Mad Dog, William Don LEVERETT, also known as Big Will, Lauren
Whitney MOORE, also known as Pistols, Richard Lee PINTO, also known as Dirty
Red, and Alisha Ann PRIEST, along with others both known and unknown, did
knowingly and intentionally combine, conspire, confederate, and agree to engage in
conduct in violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(B), namely to distribute and to

possess with intent to distribute more than 50 grams of methamphetamine, in violation of

Brian Finney
Special Agent
Drug Enforcement Administration

21 U.S.C. § 846.

“ha,
SWORN AND SUBSCRIBED before me, at{o*S0 é/pm, this 2 day of
Noaecch , 2016, in Fort Worth, Texa

 

 

  

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